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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 11, 2011, the foregoing AFFIDAVIT OF
JOHN WILLIAM DAUGHERTY, JR. was electronically filed with the Clerk of Court using
the CM/ECF system. The undersigned also certifies that the above-referenced document was
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